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1    TOWNSEND AND TOWNSEND AND CREW LLP
     THEODORE T. HERHOLD (SBN 122895) ttherhold@townsend.com
2    THOMAS F. FITZPATRICK (SBN 193565) tffitzpatrick@townsend.com
     JULIE J. HAN (SBN 215279) jjhan@townsend.com
3    STEVEN W. FLANDERS (SBN 206563) swflanders@townsend.com
     379 Lytton Avenue
4    Palo Alto, California 94301
     Telephone: (650) 326-2400
5    Facsimile: (650) 326-2422
6    Attorneys for Plaintiff and Counterdefendant
     WEBEX COMMUNICATIONS, INC.
7
     PAUL, HASTINGS, JANOFSKY & WALKER LLP
8    STEPHEN S. KORNICZKY (SBN 135532) stevekorniczky@paulhastings.com
     S. CHRISTIAN PLATT (SBN 199318) christianplatt@paulhastings.com
9
     JOSEPH M. WARREN (SBN 222870) joewarren@paulhastings.com
10   3579 Valley Centre Drive
     San Diego, CA 92130
11   Telephone: (858) 720-2500
     Facsimile: (858) 720-2555
12

13   Attorneys for Defendant and Counterclaimant
     RAINDANCE COMMUNICATIONS, INC.
14

15                                       UNITED STATES DISTRICT COURT

16                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

17   WEBEX COMMUNICATIONS, INC.,                        Case No.   C05 03919 CRB (JCS)
     a Delaware Corporation,
18                                                      STIPULATION FOR DISMISSAL;
                            Plaintiff,                  ORDER
19
                    v.
20
     RAINDANCE COMMUNICATIONS, INC.,
21   a Delaware Corporation,

22                          Defendant.

23
     RAINDANCE COMMUNICATIONS, INC.,
24   a Delaware Corporation,

25                          Counterclaimant,

26                  v.

27   WEBEX COMMUNICATIONS, INC.,
     a Delaware Corporation,
28
                            Counterdefendant.

     STIPULATION FOR DISMISSAL, ORDER                                                    1
     CASE NO. C05 03919 CRB (JCS)
            Case 3:05-cv-03919-CRB Document 46 Filed 04/10/06 Page 2 of 3



1           The parties to this action have executed a Settlement Agreement resolving all claims and
2    counterclaims in the action. Therefore, pursuant to Rule 41(a)(1) of the Federal Rules of Civil
3    Procedure and subject to the terms and conditions of the Settlement Agreement, IT IS HEREBY
4    STIPULATED by and between the parties hereto that the above-captioned action be and hereby is
5    dismissed with prejudice, each side to bear its own attorneys' fees and costs of suit.
6

7                                                  TOWNSEND AND TOWNSEND AND CREW LLP
8

9    DATED: April 7, 2006                          By:          /s/ Steven W. Flanders___
                                                                Steven W. Flanders
10                                                       Attorneys for Plaintiff/Counterdefendant
                                                         WEBEX COMMUNICATIONS, INC.
11

12                                                 PAUL, HASTINGS, JANOFSKY & WALKER LLP
13

14   DATED: April 7, 2006                          By:          /s/ Stephen S. Korniczky___
                                                                Stephen S. Korniczky
15                                                       Attorneys for Defendant/Counterclaimant
                                                         RAINDANCE COMMUNICATIONS, INC.
16

17          Pursuant to General Order No. 45, Section X(B) regarding signatures, I attest under penalty of
18   perjury that concurrence in the filing of this document has been obtained from Stephen S. Korniczky.
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     STIPULATION FOR DISMISSAL, ORDER                                                                       2
     CASE NO. C05 03919 CRB
               Case 3:05-cv-03919-CRB Document 46 Filed 04/10/06 Page 3 of 3



1                                                        ORDER
2
               WHEREAS, Plaintiff and Counterdefendant WebEx Communications, Inc. (“WebEx”) and
3
     Defendant and Counterclaimant Raindance Communications, Inc. (“Raindance”) have settled their
4
     respective claims and counterclaims against each other; and
5
               WHEREAS, WebEx and Raindance have agreed to dismiss their claims, counterclaims and
6
     other claims for relief against each other with prejudice, with each party bearing its own attorneys’
7
     fees, costs and expenses, as stipulated by both parties above;
8
                   IT IS HEREBY ORDERED AND ADJUDGED, in accordance with Rule 41(a) of the Federal
9
     Rules of Civil Procedure, that:
10
               1.       All claims asserted by WebEx against Raindance and all claims, defenses and
11
     counterclaims asserted by Raindance against WebEx in this action are hereby dismissed in their
12
     entirety with prejudice.
13
               2.       Each party shall bear its own attorneys’ fees, costs and expenses.
14
               3.       All other relief not provided herein is denied.
15
               IT IS SO ORDERED.
16

17                     April 10
               DATED: ______________, 2006
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                                                        UNITED ISTATES
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22                                                                      Judge C
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     STIPULATION FOR DISMISSAL, ORDER                                                                        3
     CASE NO. C05 03919 CRB
